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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                      §
                                                  §
        Plaintiffs,                               §
 v.                                               §    Civil Action No. 4:20-cv-00957-SDJ
                                                  §
 GOOGLE LLC,                                      §
                                                  §
        Defendant.                                §



            DEFENDANT GOOGLE LLC’S UNOPPOSED MOTION FOR LEAVE
                   TO SERVE SUR-REBUTTAL EXPERT REPORT


       Defendant Google LLC (“Google”) respectfully requests leave to serve a sur-rebuttal report

of its expert Michael R. Baye (“Baye Sur-Rebuttal Report”) to respond to certain opinions

disclosed in the rebuttal report of Plaintiffs’ expert Joshua D. Gans (“Second Gans Report”).

       1.      Following service of the Second Gans Report on September 9, 2024, the parties

met and conferred about how to address the disclosure of certain opinions in that report, 1 and they

ultimately agreed that, with the Court’s permission and without the necessity for briefing a

contested motion to strike the Second Gans Report, Google could serve a Baye Sur-Rebuttal

Report by October 4. The parties further agreed on dates for the depositions of Drs. Gans and

Baye prior to the close of expert discovery on November 1. See Dkt. #609. As a result, the Baye




 1
  See Gans Rebuttal Report ¶¶ 118-124, 130, 132, 135, 513-515; Tables 4, 5, 11-14; ¶¶
89, 169-171, 516-517; Figures 2-4, 30-32; ¶¶ 200-202; Figure 7; ¶ 231; Figure 9; ¶¶ 236-
238; Figures 10-12; ¶ 244; Figure 13; ¶¶ 318-319, 540; Figures 16 and 40; ¶¶ 346-347,
349; Figures 17-20; ¶¶ 174, 419-423, 429-432; Figure 23; Table 8.

 The States maintain, and do not waive, their position that all of the above portions of the
Second Gans Report are proper rebuttal to Google’s reports and that there is no basis for
Google to serve any sur-rebuttal reports. The States have nonetheless reached this
agreement in the spirit of cooperation.
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Sur-Rebuttal Report would not require any adjustment to the deadlines established in the Court’s

scheduling orders.

       2.     Google has conferred with Plaintiffs and, consistent with the parties’ agreement,

they do not oppose this motion.



Dated: October 1, 2024                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I certify that on October 1, 2024, this document was filed electronically in compliance with
Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local
Rule CV-5(a)(3)(A).


                                                                            /s/ Michael Davis
                                                                            Michael Davis


                                 CERTIFICATE OF CONFERENCE

      I hereby certify that the meet and confer requirements in Local Rule CV-7(h) have been
met. This motion is consented to and not opposed by any party.


                                                                            /s/ Michael Davis
                                                                            Michael Davis




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